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                                                         Exhibit A to the Complaint
Location: Manchester, CT                                                                               IP Address: 70.172.213.70
Total Works Infringed: 36                                                                              ISP: Cox Communications
 Work         Hash                                     UTC                  Site          Published        Registered       Registration
 1            340388F38581DF5E919342C8EBB209978EEA9633 01/31/2019           Blacked       01/30/2019       02/22/2019       PA0002155138
                                                       01:15:47
 2            143ED56E751B662F727B52D79C441FBCC16BB177 01/29/2019           Blacked       12/20/2018       02/02/2019       PA0002154970
                                                       00:05:08
 3            16964274EEF2DEB09294CF8A21B1AFBB9CC70842 01/16/2019           Tushy         01/11/2019       01/22/2019       PA0002147904
                                                       21:12:57
 4            1C61ABC608F28FE0EB1B8115519CA139B67455B0 01/25/2019           Blacked       09/07/2017       09/15/2017       PA0002052840
                                                       00:49:17
 5            1D652D14E624CF4FE65234E00AB298914C6B5B1B 01/07/2019           Vixen         01/04/2019       01/22/2019       PA0002147681
                                                       00:36:09
 6            1ED7894C730F91D284F9451A87ECDC8F5187BF50 01/26/2019           Blacked Raw   05/12/2018       05/24/2018       PA0002101380
                                                       19:17:30
 7            2ADE8763346FFA11FC1395267FDA45ACC89C677C 01/25/2019           Blacked Raw   11/03/2018       12/10/2018       PA0002145823
                                                       00:46:28
 8            2F37046EC89B3AD7ED74C2940723618BFD1A4721 02/01/2019           Tushy         08/14/2017       08/17/2017       PA0002048391
                                                       00:27:38
 9            2FE4248FF403CC4AC400EB970FBEF1FC8D8454F4 01/29/2019           Blacked       02/09/2018       03/02/2018       PA0002104745
                                                       00:02:53
 10           3323AD5021933A353E77806D1FECE58685BF2A13 01/25/2019           Blacked Raw   10/04/2018       10/16/2018       PA0002127787
                                                       00:46:36
 11           3AF67ADE722E77AF5C23A9FB165F53CADB24E1AC 01/29/2019           Blacked Raw   11/28/2017       01/04/2018       PA0002097446
                                                       00:02:46
 12           3E4D1B5168D11A249867DAEBCF3B524396BF2FF4 01/20/2019           Blacked Raw   03/08/2018       04/17/2018       PA0002116094
                                                       04:32:04
 13           43AF666D13FBC2B12953D257F6CA4935FC3CD7B5 01/25/2019           Blacked Raw   01/07/2018       01/24/2018       PA0002101759
                                                       01:07:29
 14           46008F270CD49FF19391341B7014BF9549387B91 01/25/2019           Blacked       12/31/2017       01/15/2018       PA0002099700
                                                       00:57:43
 15           4621BB4A0025EC53A878119567D5F952DB339CE7 01/25/2019           Blacked       05/25/2017       06/22/2017       PA0002039290
                                                       00:52:13
 16           524F82340C2DB6CDF1DD292204ADAF0F98672DC8 11/20/2018           Blacked Raw   11/18/2018       12/10/2018       PA0002146476
                                                       03:27:04
 17           554E325A9D7E7E6E67EB4F6AE427E8A6A2D051DC 01/25/2019           Blacked       03/11/2018       04/17/2018       PA0002116091
                                                       00:58:00
                            Case 3:19-cv-00778 Document 1-1 Filed 05/21/19 Page 2 of 3
Work   Hash                                       UTC          Site          Published    Registered   Registration
18     59BBB32A1C085F460AAFB1329242C36691D072A1   01/28/2019   Blacked Raw   01/07/2019   02/02/2019   PA0002155390
                                                  13:18:17
19     6471AC811C89A07BC2860B0F2CEB25A256A6B2F9   01/26/2019   Blacked Raw   06/06/2018   07/14/2018   PA0002128447
                                                  19:30:37
20     64D40092B3D528552372E59E9627B7D57E83B443   02/01/2019   Tushy         09/03/2018   11/01/2018   PA0002143436
                                                  00:23:12
21     73098F3107FBE8E4AE1441F54DB3A42BC0D2E71E   01/26/2019   Blacked Raw   02/06/2018   02/20/2018   PA0002104186
                                                  19:17:17
22     7B364338CD90FC951B3F536B186EBA30DE4246FC   01/28/2019   Blacked Raw   11/28/2018   01/22/2019   PA0002149836
                                                  13:19:13
23     7B57FCC04E365EC8AFA37E1EEDD1AEC885BB92B3   01/29/2019   Blacked       12/06/2017   01/04/2018   PA0002097418
                                                  00:08:26
24     901129DA9629352ECBB99FF90FE06A5F749AF4DD   01/29/2019   Blacked       09/12/2017   09/15/2017   PA0002052846
                                                  00:03:40
25     96AEF5CCCC986CCBC629B6F97649BCEBBC0586B2   11/30/2018   Blacked       04/25/2018   06/19/2018   PA0002126642
                                                  22:03:39
26     A25F0F8A58F9E53C1BF9249E70F2C692B76AE904   01/28/2019   Blacked Raw   01/12/2019   02/02/2019   PA0002155388
                                                  13:16:32
27     A2F12D22A1ED9F23F0499A8DAA8C8F65CAE2A0F7   01/02/2019   Vixen         04/09/2018   06/19/2018   PA0002126676
                                                  22:27:35
28     BC8ACAF0DC42FB3CEEDEB0DC51C20206FDBB20E4   01/26/2019   Blacked Raw   07/11/2018   08/07/2018   PA0002131894
                                                  05:17:10
29     CA328163FA3ADE41786B2BE2C246F9EB7AE2EEA4   01/29/2019   Blacked       06/09/2017   07/07/2017   PA0002070825
                                                  00:08:15
30     D4130E59A4F7FAA536754AB19E46653D45AA46FF   02/14/2019   Blacked       02/13/2019   03/11/2019   PA0002158597
                                                  12:16:45
31     D513F1B4A7C6B72B1F1CE73FCC38227A6251E4CA   01/25/2019   Blacked       06/24/2017   07/07/2017   PA0002070822
                                                  01:03:41
32     D9D453CA10A11F235D92278E4484BBE5A2B5A9F1   01/25/2019   Blacked Raw   06/26/2018   08/07/2018   PA0002131867
                                                  00:54:03
33     E12C003246B83B76DC861765D6E9B1BC09E79EA4   01/25/2019   Blacked Raw   10/19/2018   11/25/2018   PA0002136715
                                                  00:45:27
34     EA3A1459FD63ECD6B26644B90833EB3BD0C7E235   10/28/2018   Vixen         06/13/2018   07/14/2018   PA0002128389
                                                  16:07:35
35     F490D50E48B78E440D3B407F74E102774F2A605A   02/14/2019   Tushy         02/13/2019   03/11/2019   PA0002158596
                                                  12:18:11
36     FE14ADE82FF2485EC91596EA5FFA5176B048BE2B   01/29/2019   Blacked Raw   07/21/2018   09/01/2018   PA0002119592
                                                  00:04:55
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